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FILED

Antonio Medina WNW) on na
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Milpitas, CA 95036 SUSAN Y, SOONG
? CLERK, U.S,
Tel: (714) 248-5689 NORTHERN DISTRIT OF CALS CAMA
In pro per
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
ANTONIO MEDINA, ) Case No. 3:14-cv-00143-RS
)
)
oo. ) PLAINTIFF'S REPLY TO OPPOSITION TO
Plaintiff, } MOTION TO STRIKE AND SEAL
)
VS. )
) Hearing: December 17, 2020
) Time: 1:30 p.m.
Defendants.
)
)
ARGUMENT IN REPLY

1. ISSUES LEFT AFTER OPPOSITION

Microsoft does not oppose Plaintiff's request to seal the requested portions of Microsoft’s

Motion for Protective Order or the Court’s Order granting that motion.

Microsoft claims that the seal will “most efficiently dispose of this issue” Microsoft does,

however, object to striking all or any portion of the pleadings. Microsoft does not claim any

prejudice if this court orders the matter struck.

The seal alone will not dispose of the issue. The problem is that sealing the identified

material does not remove it from computer servers and computers where it is already stored. Only if

the material is stricken the republishers will have a reason to depublish it as it is no longer part of

the record that they purport to reproduce and republish.

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2. DISPUTED FACTS

Based on the reading of the Opposition papers it is apparent that there are some disputed
facts. The procedural ones, listed first below, are of little import, except to evaluate the accuracy of
Ms. Jenninson as a reporter of facts, but is important to evidence her lack of accuracy in her
accounts, including the defamatory facts that she narrated in 2014 in her motion for the Protective
Order and still narrates today.

Ms. Jenninson claims in her opposition that Dr. Medina has misrepresented his attempt to
meet and confer with Microsoft.In her declaration of November 20, 2020. The misrepresentation,
according to Ms. Jenninson is the omission of her most recent email, exchanged on November 3
regarding this motion. She does not explain the significance, if any, of that email other than
characterize its omission as a misrepresentation. However, Ms. Jenninson conveniently omitted in
her opposition and declaration the last email of November 4, 2020, attached as Exhibit A to the
declaration of Dr. Medina in reply, filed concurrently. In that email, Dr. Medina tells her in
response to her November 3 email that “The motion already went out.” Therefore Ms. Jenninson’s
belated email could not have been included.

In her opposition, Ms. Jenninson keeps talking about a “prior conviction” while admitting
that there was a reversal of such, and therefore no conviction as a matter of law. She contradicts
herself. She claims that Dr. Medina’s assertion that her recitation of his “criminal history” is false,
defamatory, and irrelevant “is not accurate as his “prior convictions were well established and a
matter of public record at the time of Microsoft’s Motion for Protective Order.” Conviction in legal
parlance denotes the final judgment of the court. See Black’s legal dictionary. Therefore cannot be
a conviction now after reversal and judgment of acquittal. Nor there was one at the time of the
filing of the motion for Protective Order when it was known and undisputed that there was no
finality because of the direct appeal filed.

As for the second “prior conviction” Microsoft has never shown that the defendant, in that
case, is Dr. Medina, and it has not shown either what was the final disposition. An online inspection|
of the docket sheet shows that although this case was affirmed on appeal as Microsoft contends,
there were multiple proceedings afterward attacking the judgment, including a petition for a writ of

certiorari. The last entry refers to a writ of coram nobis. Microsoft contends that “Plaintiff did not

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dispute the convictions in his response to Microsoft’s Motion for Protective Order.” That is
incorrect. As explained in the Declaration of Dr. Medina in reply, he did not admit or deny which
cases cited by Microsoft in its motion for protective order belonged to him and which did not,
because they were irrelevant. Dr. Medina explicitly declared then and now that some of the cases
listed by Microsoft were not his. Dr. Medina did not have any obligation to go over those cases and
admit or deny involvement when there was no purpose since they were totally irrelevant to this
action. Microsoft also offered the cases for the truth of facts narrated therein, as it still does in its
present opposition, but those facts are objected hearsay. It is apparent in the Protective Order that
the magistrate judge agreed that they were irrelevant as they were not relied upon in her decision.
3. LAW AND ARGUMENT

Defendant argues again that the allegations of criminal conduct were relevant to the issue of
whether Dr. Medina could be trusted. Assuming for the argument that trustability is related to
criminal conduct, trust was not the issue. The argument that Microsoft emphasizes in its opposition
is that the reason why the protective order was granted, keeping Dr. Medina from seeing any and all
documents to be produced, was that he “could not be trusted”. Nothing even close to this reason
appears in the protective order findings and conclusions. Nevertheless, Microsoft insists on its
argument that trust was an issue considered by the magistrate judge for the simple reason that she
repeated Microsoft’s allegations of convictions, which according to Microsoft necessarily implied
distrust.

The issue was not whether Dr. Medina could be trusted, but whether the documents should
be kept secret by defendant Microsoft. Of course, when there is a protective order the parties are
ordered to obey it. Microsoft argued that Dr. Medina might not obey it (‘not be trusted”) was
beyond the motion for the protective order. When an order is not obeyed there are remedies,
including contempt. Protective orders are issued when there is a privacy interest to protect, not
when there is fear that the order might be disobeyed. A party seeking imposition of a protective
order must show what is the information designated confidential and the subject matter covered by
the protective order. That is what Microsoft had to show, not how trustable Dr. Medina was. Trust
was not even a possible issue.

In determining whether to grant or deny a protective order, district courts must balance the

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parties' and the public's respective interests. See Brown Bag Software v. Symantec Corp., 960 F.2d
1465, 1470 (9th Cir. 1992); Valley Broadcasting Co. v. United States Dist. Ct., 798 F.2d 1289,

1294 (9th Cir. 1986).; see also Federal Open Mkt. Comm. of Fed. Reserve Sys. v. Merrill, 443 U.S.
340, 363-364, 61 L. Ed. 2d 587, 99 S. Ct. 2800 (1979) (determination of whether confidential
commercial information is discoverable must await the development of a proper record). The
absence of facts regarding what documents are disputed, or whether the disputed documents contain!
trade secrets or are relevant to the prosecution of claims and any potential defenses precludes
proper balancing. Issues like trustability are irrelevant.

Magistrate Corey granted the motion for Protective Order because Dr. Medina did not have
an attorney and Microfost claimed that all its documents were strictly confidential for attorney’s
eyes only. She makes no mention of trustability in her Protective Order because it was not an issue.
Microsoft's argument that the Magistrate must have considered it because it was the reason
Microsoft used to justify an argument is simply pure speculation that also assumes that the
justification was good, something that Magistrate Corey never even mentioned.

We can only speculate why magistrate judge Corley copied the allegations of conviction
made by Microsoft in its motion for the protective order, maybe she copied the introduction of facts
from Microsoft’s motion to her order for convenience and concentrated on the issues of law.
Section B of the magistrate’s order (in p. 2) is labeled “Dr. Medina’s Criminal History.” A reading
of that section evidences that it is a summarized copy of section B (in p. 5) of Microsoft motion,
labeled “Medina’s Criminal History ...” We can safely conclude that the Magistrate’s section was
copied from Microsoft’s motion because it says that “Dr. Medina was convicted of fraudulently
altering a check” citing a court opinion, but the court opinion does not say such thing. It was
Microsoft who made up such defamatory fact, also miss citing the same opinion. It is easy to
confirm that the opinion does not contain such allegation, which was not charged. In its opposition
to the motion to strike Microsoft no longer claims that any check was altered. Whatever reason the
magistrate had to copy section B from Microsoft’s section B, the issue here is that she made a
mistake, a mistake arising from oversight and trust in Microsoft’s attorney as a supply of facts. Rule
60 of the Federal Rules of Civil Procedure states that “The court may correct a clerical mistake or a

mistake arising from oversight or omission whenever one is found in a judgment, order, or other

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part of the record. The court may do so on motion or on its own, with or without notice.” The court
is therefore empowered not only to seal the documents, but to strike the offending paragraphs
which are undisputedly inaccurate as a matter of law, and apart from Dr. Medina’s declaration so
stating.

Even if criminal conduct were relevant to trust, even if trustability was an issue in the
motion for Protective Order, even if Magistrate Corey did not mention the issue, but was
nevertheless considered by her, even if the proposition has any validity in law, the fact remains that
it is not the issue now for this motion to strike as all those alleged issues have no play anymore after
this case has been adjudicated. So the issue now is whether the allegations of criminal conduct have
any relevance at this stage and whether those allegations that were mistakes, errors, inaccuracies,
and never supported with any evidence should be in the record for any legitimate purpose. Now that
the allegations are undisputably false there is no conceivable purpose or interest to perpetuate them.
Microsoft has also admitted implicitly that at least one of the two convictions that it claimed was
never a conviction, so Dr. Medina could never have had “two convictions.” Microsoft says now that
there was a finding of guilt, and that it knew that case was under direct appeal. It is well known that
there is no conviction until a final disposition, which in that case was a finding of acquittal. So there
was never a conviction. The statement was false then as it is false now. Dr. Medina does not have 2
convictions and never had.

Dr. Medina explained why sealing the documents, as Microsoft proposes, is not enough to
curtail the dissemination and republication of the original documents. At least one republisher of
the Protective Order contends that an order sealing it does not compel him to do the same and he
can freely republish in his website the original order that he received from Microsoft’s attorneys.

4. CONCLUSION

For the foregoing reasons, Defendants respectfully ask this Court for an Order striking the

documents or text content identified in this motion and Order that publishers and republishers of the

original content remove said content from their computer servers with public access.

DATED: November 25, 2020

 

Antonio Medina Plaintiff

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